            Case 2:20-cv-00328-TOR                   ECF No. 15          filed 11/29/21    PageID.197 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_
                                                     Eastern District of Washington


  ROBERT DYK and MARLI DYK, husband and wife,                        )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-CV-0328-TOR
                                                                     )
    PROPERTY AND CASUALTY INSURANCE                                  )
  COMPANY OF HARTFORD, dba THE HARTFORD,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, this action is DISMISSED with prejudice and without
’
              attorney fees or costs to any party.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge              THOMAS O. RICE
       on the parties’ Stipulated Order of Dismissal (ECF No. 13).


Date: November 29, 2021                                                      CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Linda L. Hansen
                                                                                          (By) Deputy Clerk

                                                                             Linda L. Hansen
